Case 5:18-cv-00538-ESC Document 55 Filed 04/02/19 Page 1 of 4

a
; \@

DARBY RILEY

BOARD CERTIFIED/CIVIL TRIAL LAW

TEXAS BOARD OF LEGAL SPECIALIZATION
darbyriley@rileylawfirm.com

CHARLES A. RILEY, P.C.
charlesriley@rileylawfirm.com

County Clerk's Office - Central Filing
Bexar County Courthouse

100 Dolorosa

San Antonio, Texas 78205

U.S. District Clerk’s Office
655 E. Durango
San Antonio, Texas 78205

Probate Court Clerks

Probate Courts No. 1 and No. 2
Bexar County Courthouse

San Antonio, Texas 78205

Kendall County District Clerk
201 E. San Antonio Ave. #127
Boerne, Texas 78006

Comal County District Clerk
150 N. Seguin, Suite 304
New Braunfels, Texas 78130

RE: Vacation Letter for 2019- Charles Riley

CHRIS RILEY, M.A.
LEGAL ASSISTANT

April 2, 2019

Bexar County District Courts
Jury Assignments

Attn: Christine Torres

San Antonio, Texas 78205

Hon. Mary Angie Garcia
Bexar County District Clerk
Paul Elizondo Tower

101 W Nueva, Suite 217
San Antonio, Texas 78205

Supreme Court of Texas
P.O. Box 12248
Austin Texas 78711

Atascosa County Courthouse
1 Courthouse Circle Dr.
Jourdanton, TX 78026

U.S. Clerk's Office*
655 E. Durango
San Antonio, Texas 78206

320 Lexington Ave. San Antonio, TX 78215-1913 Tel: (210) 225-7236 Fax: (210) 227-7907
Case 5:18-cv-00538-ESC Document 55 Filed 04/02/19 Page 2 of 4

Dear Clerks,

Please do not set me for any jury trials or other hearings that conflict with the
following vacation days:

April 24-26, 2019

May 24 — 27, 2019

July 29 — August 2, 2019

December 22, 2019 — January 2, 2020

| have enclosed an extra copy of this letter with the request that you forward to me
a file-stamped, conformed copy in the self-addressed, stamped envelope | have provided
for your convenience. By copy of this letter, | am notifying opposing counsel of same.

Thank you for your cooperation in this matter.

Very truly yours,

 
 
 

 

Charles Riley

 
 

CARI/is

* Cause No.: 5:18-CV-00538-FB; Amelia Rios, Robert Green and Sayra Green v. Ciox
Health, LLC, Healthport Technologies, LLC and Scanstat, L.P.

 

 

 

 

 

Cc:
David R. Tippetts Via Fax: (713) 244-0801
Jason P. Hartman Via E-mail: david.tippetts@wtllaw.com
Via E-mail: jason.hartman@wtllaw.com
Lindsay Leifeste Via Fax: (210) 734-0379
Lewin Plunkett Via Email: LPlunkett@pg-law.com
Via Email: LHurt@pg-law.com
Melanie Castillo Via Fax: (210) 630-4210
Via Email: mcastillo@casnlaw.com
George T. Jackson Via Fax: (713) 622-8077
Via Email:Gjackson.atty@bushramirez.com
Kaitlyn O’ Hara Via Fax: (612) 231-4704
Via Email:
AustinLegal@mercuryinsurance.com
Mark L. Medley Via Fax: (210) 490-7998
Via Email: mim@medleylaw.com
Michael Patterson Via Fax: (877) 684-4166

Via Email: SanAntonioLegal@allstate.com

320 Lexington Ave. San Antonio, TX 78215-1913 Tel: (210) 225-7236 Fax: (210) 227-7907
Case 5:18-cv-00538-ESC Document 55 Filed 04/02/19 Page 3 of 4

Mark P. Brewster
Edward L. Pina
Scott A. Seelhoff
Robert F. Ritter
Scott P. Jones

Edward T. Hecker
Peter B. Gostomski

Kathleen Hurren
Joyce W. Moore
Annalyn G. Smith
Alexander D. Good
David R. Stephens
Benjamin R. Bingham
Royal B. Lea, Ill

Edward F. Fernandes

Laura T. Wagner
Ashley Cummings

Richard G. Foster
Raj Aujla

Charles A. Deacon
Alicia M. Grant

Jason R. Jobe
Letty P. Aguilar
Richard N. Francis

Grant E. Adami, III
Zach Edwards

Via Fax: (210) 437-1233

Via Email: mark@markbrewsterlaw.net
Via Fax: (210) 614-6403

Via Email: epina@arielhouse.com
Via Fax: (361) 884-5291

Via Email: sseelhoff@umhlaw.com
Via Fax: (210) 732-2458

Via Email: lawritter55@yahoo.com
Via Fax: (210) 979-7810

Via Email: siones@brock.law

Via Fax: (210) 222-9540

Via Email: ed@ghlawyers.net

Via Email: peter@ghlawyers.net
Via Fax: (210) 341-6939

Via Email: kathleen@hurrenlaw.com

Via Fax: (210) 735-6889

Via Email: jwmoore@langleybanack.com
Via Fax: (210) 447-8036

Via Email: asmith@sr-llp.com
Via Email: agood@Istlaw.com

Via Email: dstephens@Istlaw.com
Via Fax: (210) 224-0141

Via Email: ben@binghamandlea.com
Via Email: royal@binghamandlea.com
Via Fax: (512) 541-5049

Via Email: efernandes@hunton.com
Via Fax: (404) 888-4190

Via Email: efernandes@hunton.com
Via Email: lwagner@hunton.com

Via Fax: (210) 736-1992

Via Email: rfoster@prdg.com

Via Email: raujla@prdg.com
Via Fax: (210) 270-7205

Via Email:
charlie.deacon@nortonrosefulbright.com Via
Email:
alicia.grant@nortonrosefulbright.com

Via Fax: (214) 871-8209

Via Email: jjobe@thompsoncoe.com

Via Fax: (512) 708-8777

Via Email: LAguilar@thompsoncoe.com
Via Fax: (210) 610-3930

Via Email: SanAntonioHC@progressive.com
Via Fax: (210) 344-7228

Via Email: tadami@adamilaw.com

Via Email: zedwards@adamilaw.com

320 Lexington Ave. San Antonio, TX 78215-1913 Tel: (210) 225-7236 Fax: (210) 227-7907
Case 5:18-cv-00538-ESC Document 55 Filed 04/02/19 Page 4 of 4

 

 

 

David P. Benjamin Via Fax: (210) 881-0668
Via Email: dbenjamin@benlawsa.com
Reagan Marble Via Fax: (210) 226-8395
Via Email: rmarble@jw.com
Zach Zurek Via Email: zzurek@jw.com
Sean B. McNelis Via Fax: (210) 826-2451
Richard C. McSwain Via Email: sean@mcnelisassociates.com
Via Email: richard@mcnelisassociates.com
Wallace B. Jefferson Via Fax: (512) 482-9303
Amy Warr Via Email: wiefferson@adijtlaw.com

 

Alexandra Wilson Albright Via Email: awarr@adjtlaw.com
Via Email: aalbright@adjtlaw.com

320 Lexington Ave. San Antonio, TX 78215-1913 Tel: (210) 225-7236 Fax: (210) 227-7907
